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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

  THE CITY OF NEW YORK

                         Plaintiff,                     Case No. 1:20-cv-05965
         v.

  OLD DOMINION TOBACCO COMPANY,
  INCORPORATED d/b/a ATLANTIC                           AFFIRMATION OF AVI SCHICK
  DOMINION DISTRIBUTORS,                                IN SUPPORT OF MOTION TO
                                                        DISMISS
                         Defendant.




        I, Avi Schick, an attorney duly admitted to practice law before the courts of the State of

 New York, affirms the following to be true under the penalties of perjury.

        1.      I am a partner with the law firm Troutman Pepper Hamilton Sanders LLP, attorneys

 for Defendant Old Dominion Tobacco Company, Inc. d/b/a Atlantic Dominion Distributors

 (“Atlantic Dominion”) in this matter.

        2.      I submit this affirmation in support of Atlantic Dominion’s motion to dismiss the

 Complaint filed by Plaintiff the City of New York (the “City”).

        3.      Attached hereto as Exhibit A is a true and correct copy of the Complaint the City

 filed in the matter captioned City of New York v. Cigarettes Unlimited, L.C., et al (1:19-cv-03998)

 (the “Cigarettes Unlimited case”) on July 11, 2019.

        4.      Attached hereto as Exhibit B is a true and correct copy of the motion to dismiss that

 Defendants Cigarettes Unlimited, L.C. (“Cigarettes Unlimited”), John and Anita Lash, Stephen

 and Mary Riley, Shana Biller, Margaret Clark, Candice Fox, Monique Pearson, Julius Peters-

 Brandon, Joanna Petties, Paula Sloan, Derrick Whiting, Jessica Whitehead, and Elizabeth



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 Windham (collectively, the “Cigarettes Unlimited Defendants”) filed in the Cigarettes Unlimited

 case on October 14, 2019.

        5.      Attached hereto as Exhibit C are true and correct copies of the filings noting the

 existence of a settlement with the Cigarettes Unlimited Defendants in the Cigarettes Unlimited

 case. During a telephone call, counsel for the City confirmed to the undersigned that the settlement

 amount had been less than $200,000 in total.

        6.      Attached hereto as Exhibit D are true and correct copies of the filings noting the

 existence of a settlement with the remaining defendants in the Cigarettes Unlimited case.

        7.      Attached hereto as Exhibit E is a true and correct copy of the unpublished decision

 from Judge Engelmayer filed as Document 69 in the matter captioned City of N.Y. v. Hatu, No. 18-

 CV-848, on September 24, 2018.


 Dated: New York, New York
        July 1, 2021
                                                      TROUTMAN PEPPER
                                                      HAMILTON SANDERS LLP

                                                 By: s/ Avi Schick
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